                         BEFORE THE UNITED STATES JUDICIAL
                         PANEL ON MULTIDISTRICT LITIGATION




In re: Local TV Advertising Antitrust                 MDL No. 2867
Litigation




REPLY MEMORANDUM OF LAW IN SUPPORT OF MOTION OF PLAINTIFF CLAY
 MASSEY & ASSOCIATES, P.C. FOR THE TRANSFER OF RELATED ACTIONS TO
     THE NORTHERN DISTRICT OF ILLINOIS FOR COORDINATED OR
  CONSOLIDATED PRETRIAL PROCEEDINGS PURSUANT TO 28 U.S.C. § 1407



       Plaintiff Clay, Massey & Associates, P.C. (“Movant”), in the action captioned Clay,

Massey & Associates, P.C., et al. v. Gray Television, Inc., et al., Case No. 18-cv-5197 (N.D. Ill.

July 30, 2018), respectfully submits this Reply Memorandum of Law in support of its Motion

pursuant to 28 U.S.C. § 1407 to transfer and coordinate or consolidate related actions to the

Northern District of Illinois.

                                        BACKGROUND

       The parties before the Panel all agree that centralization of the six related actions at issue

in this proceeding (collectively, the “Related Actions”) is appropriate at this time.1 Therefore, the

only issue before the Panel is the most appropriate district in which the Related Actions should be




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 Since the filing of this Motion on July 31, 2018, four additional Related Actions have been filed
(Randal S. Ford d/b/a Ford Firm v. Sinclair Broadcast Group, Inc., et al., Case No. 1:18-cv-02372
(D. Md. Aug. 2, 2018); Dozier Law Firm LLC v. Gray Television, Inc., et al., Case No. 1:18-cv-
05392 (N.D. Ill. Aug. 8, 2018); Gibbons Ford, LP v. Gray Television, Inc., et al., Case No. 1:18-
cv-05555 (N.D. Ill. Aug. 14, 2018); Forbes v. Gray Television, Inc., et al., Case No. 1:18-cv-05708
(N.D. Ill. Aug. 21, 2018)). To date, four Related Actions have been filed in the Northern District
of Illinois and two in the District of Maryland.
centralized. Notably, only one party before the Panel favors the District of Maryland (the

“Maryland Plaintiff”).2 Four plaintiffs and each of the seven named Defendants3 support the

Northern District of Illinois as the transferee district. Moreover, the Maryland Plaintiff’s response

is premised on misplaced assumptions regarding convenience, an overstatement of the significance

of the first-filed Related Action, and a misreading of docket statistics. For these reasons, as well

as those detailed in Movant’s initial submission, the Northern District of Illinois is best suited for

centralization of the Related Actions.

                                           ARGUMENT
 I.    Transfer and Coordination or Consolidation of the Related Actions is Undoubtedly
       Appropriate

       Under 28 U.S.C. § 1407(a), civil actions pending in different district courts and involving

“one or more common questions of fact” may be “transferred to any district for coordinated or

consolidated pretrial proceedings.” Transfer is appropriate to serve “the convenience of the parties

and witnesses” and to “promote the just and efficient conduct” of the pending actions. Id. Here, all

parties support Movant’s Motion, insofar as it seeks centralization of the Related Actions.

II.    The Related Actions Should be Transferred to and Coordinated or Consolidated in
       the Northern District of Illinois

       In selecting the appropriate transferee district, the Panel uses no single factor, but considers

where the largest number of cases is pending, where discovery has occurred, where cases have

progressed furthest, the site of the occurrence of the common facts, where the cost and



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  On August 23, 2018, Plaintiff Randal S. Ford d/b/a Ford Firm filed an untimely Response to
Movant’s Motion, which need not be considered by the Panel. “Failure to respond to a motion
shall be treated as that party’s acquiescence to it.” RULES FOR MULTIDISTRICT LITIGATION, Rule
6.1(c). Nevertheless, the Response raises no novel arguments which need refuting.
3
  Sinclair Broadcast Group, Inc. (“Sinclair”); Tribune Media Company, Tribune Broadcasting
Company (collectively, the “Tribune Defendants”), Gray Television, Inc., TEGNA Inc., Hearst
Communication, and Nexstar Media Group, Inc. (collectively, the “Defendants”).

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inconvenience will be minimized, and the experience, skill, and caseloads of available judges.

Manual for Complex Litig., Fourth § 20.131, 2004 WL 258762, at *2. These factors strongly favor

the Northern District of Illinois and the Maryland Plaintiff’s response does not persuasively argue

to the contrary. Furthermore, the Defendants’ submissions supporting the Northern District of

Illinois provide additional reasons why the Northern District of Illinois is the most appropriate

venue.

         A.     The First Action Being Filed in the District of Maryland Carries Little Weight

         The Maryland Plaintiff urges transfer to Maryland in part because the first Related Action

was filed in that district. See Miller Response at p. 8. Although the Panel has sometimes “given

the first-filed criterion some weight in selecting a transferee district,” the Northern District of

Illinois should be favored here because it has a “special connection” to the parties and the

litigation’s subject matter. In re Halftone Color Separations ('809) Patent Litig., 547 F. Supp. 2d

1383, 1384–85 (J.P.M.L. 2008) (transferring related actions to the Central District of California

despite first action having been filed elsewhere). Specifically, two Defendants are headquartered

in Chicago and Chicago’s media market is one of the largest in the nation. Maryland’s only

connection is the location of Defendant Sinclair’s headquarters.

         Additionally, four out of six of the Related Actions were filed in the Northern District of

Illinois. This factor strongly weighs in favor of centralization in that forum. Moreover, none of the

Related Actions has moved beyond the initial pleadings such that either forum is “thoroughly

familiar with all factual issues raised in this litigation.” Cf. In re Air W., Inc. Sec. Litig., 384 F.

Supp. 609, 611 (J.P.M.L. 1974) (selecting transferee district in which discovery had “progressed

steadily”). In light of the Northern District of Illinois’ connections to this litigation and

geographically central location, it is undoubtedly the “center of gravity” and the most convenient



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forum. In re HSBC Bank USA, N.A., Debit Card Overdraft Fee Litig., 949 F. Supp. 2d 1358, 1359

(J.P.M.L. 2013). On these facts, the location of the first-filed action is of little significance.

        B.      The District of Maryland Is Not the Most Convenient Forum to Litigate the
                Related Actions

        The Maryland Plaintiff argues that the District of Maryland is the most appropriate forum

for the Related Actions based in large part on the premise that it is convenient and because

discovery in the pending actions will necessarily be centered in that district. See Miller Response

at pp. 6-7, 9 (“The Related Actions have a strong geographic nexus to the District of Maryland

because it possesses a strong factual connection to this litigation and is a geographically central

and accessible forum that is relatively close to defendants’ various headquarters.”) (internal

quotations and citations omitted). More specifically, the Maryland Plaintiff points to the fact that

Defendant Sinclair is headquartered in Maryland and two other Defendants are headquartered in

cities that are “easily accessible to Maryland.” The Maryland Plaintiff further argues that the

District of Maryland is the more convenient forum because it has airports and various train

systems.

                            1. The Northern District of Illinois is More Accessible to the
                               Majority of the Parties and Law Firms

        As a threshold matter, the Maryland Plaintiff’s convenience arguments are particularly

unconvincing because there are two Defendants—the Tribune Defendants—located in Chicago,

versus only one Defendant located in Maryland.4 Moreover, the only party before the Panel that




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  The Maryland Plaintiff asserts that “Plaintiff Clay overstates Defendant Tribune Media’s . . . role
in the conspiracy.” See Miller Response at p. 6. While this mischaracterizes Movant’s opening
Motion, this argument falls flat because discovery has not yet begun and very limited details
regarding the Department of Justice’s (“DOJ”) investigation have been publically released, it is
impossible to credibly discern each Defendant’s precise role in the alleged conspiracy at this early
stage.

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may be required to produce witnesses and documents located in Maryland (if any)—does not

oppose centralization in the Northern District of Illinois. See Defendants’ Response at p. 1 (“[W]e

agree with plaintiff Clay, Massey & Associates, P.C. that the Northern District of Illinois has the

capability and resources to preside over this type of multidistrict litigation.”). Nevertheless, the

Maryland Plaintiff asserts that because two Defendants are located in New York and one in

Virginia, Maryland’s train systems would provide convenient travel options for those Defendants.

However true that may be, it ignores that travel via hourly flights offered from New York to

Chicago are typically shorter and more convenient than utilizing Maryland’s Amtrak and MARC

trains. Moreover, the Virginia Defendant can quickly and conveniently reach Chicago on one of

over 70 nonstop daily flights leaving from airports in the Washington, D.C. area. Finally, there are

three law firms affiliated with the case located in Chicago and only one in Maryland. With most

of the lawyers involved located in either New York or California, Chicago is a far more convenient

forum than Maryland.

       Similarly, the Maryland Plaintiff’s argument that the District of Maryland is more

accessible because of its airports and train systems is simply incorrect. The Northern District of

Illinois courthouse is located in downtown Chicago, in the middle of the country, and can be

reached in minutes from either of Chicago’s two international airports, thereby “provid[ing] a

geographically central forum for this nationwide litigation that will be convenient and accessible

for the parties and witnesses.” In re: Opana ER Antitrust Litig., 65 F. Supp. 3d 1408, 1409

(J.P.M.L. 2014).5



5
 See also In re 100% Grated Parmesan Cheese Mktg. & Sales Practices Litig., 201 F. Supp. 3d
1375, 1378 (J.P.M.L. 2016) (finding that the Northern District of Illinois “provides a convenient
and accessible forum for actions filed throughout the country regarding products sold
nationwide”); In re Refund Anticipation Loan Litig., 856 F. Supp. 2d 1336, 1337 (J.P.M.L. 2012)
(Northern District of Illinois is “convenient and centrally located”); In re Capital One Tel.

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                           2. The Fact that the Department of Justice Has an Office in
                              Washington, D.C. does not Support Centralization in the
                              District of Maryland

       The Maryland Plaintiff also argues that the District of Maryland is the most appropriate

jurisdiction because of its “close proximity . . . to Washington, D.C[,]” where the Department of

Justice main office is located. See Miller Response at p. 7. Notably, the Maryland Plaintiff

primarily supports this argument with case law in which the JPML transferred related actions to

the same district in which the office of a government investigation was located and not to a district

that was merely “near” the location of the government office handling the matter. Notwithstanding




Consumer Prot. Act Litig., 908 F. Supp. 2d 1366, 1368 (J.P.M.L. 2012) (“Northern District of
Illinois offers a relatively central and convenient forum for the involved parties and counsel”); In
re Watson Fentanyl Patch Prods. Liab. Litig., 883 F. Supp. 2d 1350, 1352 (J.P.M.L. 2012)
(Northern District of Illinois “provides a convenient and accessible forum for this litigation in
which actions have been filed throughout the country regarding a product marketed nationwide”);
In re Unified Messaging Solutions LLC Patent Litig., 883 F. Supp. 2d 1340, 1342 (J.P.M.L. 2012)
(Northern District of Illinois is “easily accessible and centrally-located”); In re Innovatio IP
Ventures, LLC, Patent Litig., 840 F. Supp. 2d 1354, 1355 (J.P.M.L. 2011) (Northern District of
Illinois is a “readily accessible district”); In re JP Morgan Chase Bank Home Equity Line of Credit
Litig., 716 F. Supp. 2d 1363, 1364 (J.P.M.L. 2010) (“Northern District of Illinois provides a
convenient forum”); In re Text Messaging Antitrust Litig., 588 F. Supp. 2d 1372, 1373 (J.P.M.L.
2008) (Northern District of Illinois is a “relatively central forum for this nationwide litigation”);
In re Ameriquest Mortg. Co. Mortg. Lending Practices Litig., 408 F. Supp. 2d 1354, 1355
(J.P.M.L. 2005) (Northern District of Illinois a “geographically central district will be a convenient
location for a litigation already nationwide in scope”); In re Ocwen Fed. Bank FSB Mortg.
Servicing Litig., 314 F. Supp. 2d 1376, 1379 (J.P.M.L. 2004) (“Illinois district is geographically
centrally located for these actions which are pending throughout the United States”); In re
McDonald’s Corp. Promotional Games Litig., 192 F. Supp. 2d 1381, 1382 (J.P.M.L. 2002)
(Northern District of Illinois is a “geographically central district [and] will be a convenient location
for a litigation already nationwide in scope”); In re Am. Online, Inc., Version 6.0 Software Litig.,
162 F. Supp. 2d 690, 691 (J.P.M.L. 2001) (Northern District of Illinois is a “geographically central
district [that]will be a convenient location for a litigation already nationwide in scope”); In re
“Factor VIII or IX Concentrate Blood Products” Prods. Liab. Litig., 853 F. Supp. 454, 455
(J.P.M.L. 1993) (“Chicago is a geographically central location for this nationwide litigation”); In
re Multidistrict Private Civil Treble Damage Litigation Involving Library Editions of Children’s
Books, MDL Nos. 2, 5, 6 & 7, 297 F. Supp. 385, 387 (J.P.M.L. 1968) (MDL transfer to Northern
District of Illinois); In re Aimster Copyright Litig., 177 F. Supp. 2d 1380, 1382 (J.P.M.L. 2001)
(MDL transfer to Northern District of Illinois).

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this distinction, the cases relied on by the Maryland Plaintiff are inapposite for various other

reasons. See, e.g., In re Generic Drug Pricing Antitrust Litig., 227 F. Supp. 3d 1402, 1404

(J.P.M.L. 2016) (all responding parties, except one plaintiff, supported centralization in the district

in which the federal criminal investigation took place, whereas, here, the opposite ratio is true; all

responding parties other than the Maryland Plaintiff favor the Northern District of Illinois); In re

Foundry Resins Antitrust Litig., 342 F. Supp. 2d 1346, 1347 (J.P.M.L. 2004) (seven actions filed

in the district in which the government investigation and federal grand jury was located and only

two filed in other suggested transferee district; responding defendants also supported transfer to

the district selected by JPML); In re Cement & Concrete Antitrust Litig., 437 F. Supp. 750, 752-

53 (J.P.M.L. 1977) (federal district in which the government investigation took place was also the

district in which the “overwhelming majority of plaintiffs . . . elect[ed] to file suit,” whereas, here,

not even a majority of Plaintiffs filed in the District of Maryland, let alone an “overwhelming

majority”).

        The few cases cited by the Maryland Plaintiff to argue that the mere proximity of the

Baltimore courthouse to Washington D.C. weighs in favor of centralization are similarly

misplaced. In re: Battlefield Waste Disposal Litig., 655 F. Supp. 2d 1374, 1375 (J.P.M.L. 2009)

(all parties supported centralization in selected district); In re 1980 Decennial Census Adjustment

Litig., 506 F. Supp. 648, 651 (J.P.M.L. 1981) (coordinating and consolidating actions in the

District of Maryland where no district “in which an action w[as] pending offer[ed] a strong nexus

to the common factual questions in the litigation, and little discovery on these questions could be

expected to occur in any of them,” whereas here, discovery can be expected to occur in the

Northern District of Illinois).

        C.      Docket Management Statistics, Judicial Resources, and Judicial Expertise of
                the Northern District of Illinois all Support Transfer to that District


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       Finally, the Maryland Plaintiff argues that as of July 16, 2018, the District of Maryland had

only four multidistrict litigations pending, whereas the Northern District of Illinois had ten. See

Miller Response at pp. 10-11.6 While Movant agrees that Judge Chuang is highly qualified to

oversee the Related Actions, the Maryland Plaintiff ignores many of the strong attributes of the

Northern District of Illinois that make it at least as qualified to oversee this ligation. For example,

while the Northern District of Illinois may be currently handling more multidistrict litigations, it

also has 30 active judges,7 compared to ten in the District of Maryland.8 Moreover, the fact that

the JPML entrusts the Northern District of Illinois to handle a high volume of MDLs on a regular

basis is a testament to its substantial experience managing complex class actions.9 In fact, the

Northern District of Illinois has handled some of the most significant antitrust MDLs in history.10



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  Curiously, the Maryland Plaintiff’s docket statistics are outdated, even though its Response was
filed on August 21, 2018 and the JPML updated its information on August 15, 2018. The Northern
District of Illinois only has nine multidistrict litigations currently pending. See
http://www.jpml.uscourts.gov/sites/jpml/files/Pending_MDL_Dockets_By_District-August-15-
2018.pdf.
7
  See http://www.ilnd.uscourts.gov/Judges.aspx?eFRCR82Cx5Y=.
8
  See http://www.mdd.uscourts.gov/district-judges.
9
   See, e.g., In re Plasma-Derivative Protein Therapies Antitrust Litig., MDL No. 2109, 657 F.
Supp. 2d 1371 (J.P.M.L 2009); In re Dairy Farmers of America (Cheese) Antitrust Litig., MDL
No. 2031, 626 F. Supp. 2d 1348 (J.P.M.L 2009); In re Text Messaging Antitrust Litig., MDL No.
1997, 588 F. Supp. 2d 1372 (J.P.M.L 2008); In re Potash Antitrust Litig., MDL No. 1996, 588 F.
Supp. 2d 1364 (J.P.M.L 2008); In re Aftermarket Filters Antitrust Litig., MDL No. 1957, 572 F.
Supp. 2d 1373 (J.P.M.L. 2008); In re BP Prods. N. Am., Inc., MDL No. 1946, 560 F. Supp. 2d
1377 (J.P.M.L. 2008); In re Sulfuric Acid Antitrust Litig., No. 1536, 270 F. Supp. 2d 1379
(J.P.M.L. 2003); In re Amino Acid Lysine Antitrust Litig., MDL No. 1083, 910 F. Supp. 696
(J.P.M.L. 1995); In re Brand Name Prescription Drug Antitrust Litig., MDL No. 997 (J.P.M.L.
1994); In re Gas Meter Antitrust Litig., No. 360, 464 F. Supp. 391 (J.P.M.L. 1979); In re Uranium
Industry Antitrust Litig., No. 342, 466 F. Supp. 958 (J.P.M.L. 1979); In re Folding Carton Antitrust
Litig., MDL No. 250, 415 F. Supp. 384 (J.P.M.L. 1976); In re Commodities Exchange Rate
Antitrust Litig., No. 99, 342 F. Supp. 1405 (J.P.M.L. 1972); In re Government Auto Fleet Sales
Antitrust Litig., MDL No. 65, 328 F. Supp. 218 (J.P.M.L. 1971).
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    See, e.g., In re Amino Acid Lysine Antitrust Litig., MDL No. 1083; In re Brand Name
Prescription Drug Antitrust Litig., MDL No. 997; In re Uranium Industry Antitrust Litig., MDL
No. 342.

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       In addition, the Panel has held that the Northern District of Illinois “is equipped with the

resources that this complex litigation will likely require.” See, e.g., In re Sulfuric Acid Antitrust

Litig., 270 F. Supp. 2d 1379, 1380 (2003) (“In concluding that the Northern District of Illinois is

an appropriate forum for this docket, we note that the Illinois district . . . is equipped with the

resources that this complex antitrust docket is likely to require.”). The Everett M. Dirksen U.S.

Courthouse in Chicago is among the largest and most sophisticated district courts in the country.

The 30-story glass and steel high-rise underwent an estimated $110 million renovation project in

2012, which, among other things, added four two-story courtrooms and four magistrate

courtrooms, as well as chambers, offices, and other facilities.11 The courthouse has conference

rooms seating up to 60 people with wireless microphone systems, conference phones, computer

data outlets, white boards, ceiling-mounted projectors and screens, and digital video capability.12

                                         CONCLUSION
       Accordingly, Plaintiff Clay, Massey & Associates, P.C. respectfully requests that the Panel

grant its Motion to transfer all Related Actions to the Northern District of Illinois for coordinated

or consolidated pretrial proceedings.




11
     See http://www.turnerconstruction.com/news/item/166b/Turner-Selected-by-US-General-
Services-Administration-for-the-110-Million-Renovation-of-the-E-M-Dirksen-US-Courthouse-
in-Chicago-IL.
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   See www.gsa.gov/emdct.

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